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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DI VISION
                                       PIKEVILLE

CIVIL ACTION NO. 7:21-CV-46-DCR


ZHIVAGO ANWAH ROBINSON,                                                             PETITIONER

V.

WARDEN, USP-BIG SANDY,                                                             RESPONDENT

                                       *** *** *** *** ***

      RESPONSE IN OPPOSITION TO HABEAS PETITION UNDER 28 U.S.C. § 22411

        Respondent, by and through the undersigned Assistant United States Attorney, hereby

responds in opposition to Petitioner Zhivago Anwah Robinson’s petition for a writ of habeas

corpus under 28 U.S.C. § 2241. Relying on Descamps v. United States, 570 U.S. 254 (2013),

Mathis v. United States, 136 S.Ct. 2243 (2016), and United States v. Simmons, 649 F.3d 237 (4th

Cir. 2011) (en banc), Robinson challenges his career-offender and statutory sentence

enhancements. As set forth below, Robinson’s career-offender challenge is an abuse of the writ

and the Court lacks jurisdiction to consider it because he was sentenced under the advisory

guidelines and there is no retroactive Supreme Court decision that renders the enhancement

invalid. The Court also lacks jurisdiction to consider Robinson’s challenge to his § 851

enhancement because neither the Fourth Circuit’s decision in Simmons nor the new statutory

provision narrowing the scope of § 851 enhancements is a retroactive Supreme Court decision.



1
  Pursuant to the Department of Justice’s protocol for handling 28 U.S.C. § 2241 petitions raising
saving clause claims, this case is being jointly handled by prosecutors in this district, where Busch
is confined, and the District of South Carolina, where Busch was convicted. Kathleen Michelle
Stoughton is the Assistant United States Attorney in the District of South Carolina participating in
this response.
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I.      PROCEDURAL AND FACTUAL BACKGROUND

        A. Indictment

        In July 2008, Robinson and three co-defendants were charged in a twelve-count

Superseding Indictment in the District of South Carolina with violations of federal drug and gun

laws. United States v. Robinson, No. 0:08-cr-401, ECF No. 45 (D.S.C. July 1, 2008).2 The

Superseding Indictment charged Robinson in three counts: conspiracy to possess with intent to

distribute 500 grams or more of cocaine and 50 grams or more of crack cocaine, in violation of 21

U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(B), 846 (Count One); being a felon in possession of

a firearm, in violation of 18 U.S.C. §§ 922(g)(1), 924(a)(2), and 924(e) (Count Six); and possession

with intent to distribute and distribution of a quantity of cocaine base, in violation of 21 U.S.C.

§§ 841(a)(1) and 841(b)(1)(C) (Count Eight). Id.

        The Government filed an Information under 21 U.S.C. § 851, notifying Robinson that he

was subject to increased penalties based upon prior felony drug convictions: possession of crack

and possession of crack with intent to distribute in proximity of a park in 2000, and possession of

crack with intent to distribute 3rd and possession of crack with intent to distribute in proximity of

a school in 2001. Robinson, No. 0:08-cr-401, ECF No. 24 (D.S.C. May 12, 2008).

        B. Conviction, Sentencing, and Direct Appeal

        In October 2008, after a three-day trial, a jury unanimously found Robinson guilty of all

three counts. Robinson, No. 0:08-cr-401, ECF No. 123 (D.S.C. Oct. 2, 2008). Based on the quantity



2
  As set forth below, Robinson has now challenged his sentence in at least five federal district
courts. Documents from earlier litigation are cited to herein by the case name, case number, and
district, as well as the relevant ECF number and filing date. Documents in the case pending before
this Court are cited to herein as “Dkt. No. xx.”

Respondent respectfully requests that the Court take judicial notice of the public filings in the
related litigation. See Ashland, Inc. v. Oppenheimer & Co., Inc., 648 F.3d 461, 467 (6th Cir. 2011).
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of drugs for which the jury held Robinson individually responsible, coupled with his prior

convictions for felony drug offenses and the Government’s filing of an § 851 Information for

increased penalties, Robinson faced a statutory mandatory minimum sentence of ten years to life.

Robinson, No. 0:08-cr-401, PSR at 25 (attached as Exhibit A (filed under seal)).

        A Presentence Investigation Report (PSR) prepared for sentencing listed Robinson’s prior

adult criminal convictions, which include:

        -   In June 2000, (1) Possession of Crack Cocaine - 1st and (2) Possession With Intent to
            Distribute Crack Within Proximity of a Park, both in York County General Sessions
            Court, for which he received a sentence of 10 years suspended to five years of
            probation; and

        -   In July 2001, (1) Possession with Intent to Distribute Crack Cocaine and (2) Possession
            with Intent to Distribute Crack Cocaine Near a School, both in York County General
            Sessions Court, for which he was sentenced to six years’ imprisonment.3

Exhibit A (PSR) at 14-15. Based on his prior convictions, the probation officer determined

Robinson was a career offender and adjusted the guidelines range from 151-188 months to 360

months to life imprisonment. Exhibit A (PSR) at 17.

        The district court imposed a sentence of 360 months’ imprisonment: 360 months as to

Counts One and Eight and 120 months as to Count Six; all counts to run concurrently. Robinson,

No. 0:08-cr-401, ECF No. 161 (D.S.C. May 6, 2009).

        Robinson appealed, arguing his 360-month sentence was unreasonable because his two

career-offender predicate drug convictions “involved small drug amounts, no guns and no

violence.” United States v. Robinson, No. 09-4425, ECF No. 24 (4th Cir. Oct. 13, 2009). The

Fourth Circuit affirmed. Robinson, No. 09-4425, ECF No. 38 (4th Cir. Aug. 11, 2010).




3
  The PSR counted Robinson’s two 2001 convictions as a single career-offender predicate because
there was no intervening arrest and the sentences were imposed on the same day. See U.S.S.G.
§ 4A1.2(a)(2) (2008 ed.).
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       C. 28 U.S.C. §§ 2255 and 2244 Motions and Appeal

       In August 2011, Robinson filed a Motion to Vacate under 28 U.S.C. § 2255. Robinson, No.

0:08-cr-401, ECF No. 238 (D.S.C. Aug. 1, 2011). He challenged the district court’s determination

that he was a career offender based upon what he claims was an invalid predicate conviction. Id.

The court denied the motion in December 2011. Robinson, No. 0:08-cr-401, ECF No. 259 (D.S.C.

Dec. 13, 2011).

       Robinson appealed the district court’s denial of his § 2255 motion. Robinson, No. 0:08-cr-

401, ECF No. 262 (D.S.C. Dec. 27, 2011). He argued he is “actually innocent” of being a career

offender, and his counsel was ineffective. United States v. Robinson, No. 12-6012, ECF No. 6 (4th

Cir. Jan. 30, 2012). The Fourth Circuit denied a certificate of appealability and dismissed the

appeal. Id., ECF Nos. 7, 8 (4th Cir. June 5, 2012). Robinson filed a petition for a Writ of Certiorari,

id., ECF No. 11 (4th Cir. Sept. 17, 2012), which the Supreme Court denied, id., ECF No. 12 (4th

Cir. Oct. 15, 2012).

       In June 2014, Robinson filed a pro se motion under 28 U.S.C. § 2244 for authorization to

file a successive § 2255 motion based on three grounds: (1) the Fair Sentencing Act of 2010

retroactively applied to his case; (2) failure to reap the benefits of the Fair Sentencing Act was an

equal protection violation; and (3) he is no longer a career offender in light of Descamps. United

States v. Robinson, No. 14-307, ECF No. 2 (4th Cir. June 23, 2014). The Fourth Circuit denied the

motion. Id., ECF No. 4 (4th Cir. July 3, 2014).




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        D. Motion for Reduction of Sentence Under 18 U.S.C. § 3582(c)(2)

        In April 2015, Robinson filed a pro se “Motion for Reduction of Sentence Pursuant to 18

U.S.C. § 3582 (c)(2) and in Conjunction with the Minus Two Amendment 750.”4 Robinson, No.

0:08-cr-401, ECF No. 306 (D.S.C. Apr. 6, 2015). The court denied the motion, finding Amendment

782 did not lower his guidelines range. Id., ECF No. 332 (D.S.C. Nov. 9, 2015).

        E. Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241 in West Virginia

        In June 2017, Robinson filed a Petition for a Writ of Habeas Corpus under 28 U.S.C. § 2241

in the Northern District of West Virginia, arguing neither of his South Carolina drug convictions

qualified as career-offender predicates in light of Mathis. Robinson v. Warden, No. 1:17-cv-110,

ECF No. 1 (N.D.W.V. June 23, 2017). The court dismissed the petition for failure to use the proper

form. Id., ECF No. 6 (N.D.W.V. Aug. 10, 2017).

        F. Petitions for a Writ of Habeas Corpus Under 28 U.S.C. § 2241 in Massachusetts
           and New Hampshire

        In February 2018, Robinson filed a second Petition for a Writ of Habeas Corpus under 28

U.S.C. § 2241, this time in the District of Massachusetts. Robinson v. Hazelwood, No. 1:18-cv-

10351, ECF No. 1 (D. Mass. Feb. 26, 2018). He again argued he was improperly sentenced as a

career offender. See id., ECF No. 4 (D. Mass. June 19, 2018). The court transferred the petition to

the District of New Hampshire, where Robinson was housed. Id. The District of New Hampshire

dismissed the petition as duplicative of another Robinson had already filed in that court. Robinson

v. Hazlewood, No. 1:18-cv-568, ECF No. 8, 9 (D.N.H. Nov. 26, 2018).


4
  In 2011, the Sentencing Commission issued Amendment 750, which lowered the base offense
levels for crack cocaine offenses in conformity with the Fair Sentencing Act of 2010. See United
States v. Valentine, 692 F. App’x 235, 237 (6th Cir. 2017). In 2014, the Commission issued
Amendment 782, which amended the crack cocaine guideline by reducing by two levels the base
offense levels in the drug quantity table. Id. Although Robinson cited Amendment 750 in his April
2015 motion, the court construed it to be a request for a reduced sentence under Amendment 782.
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       In April 2018, Robinson filed his third Petition for a Writ of Habeas Corpus under 28

U.S.C. § 2241, this one in New Hampshire. Robinson v. Warden, No. 1:18-cv-287, ECF No. 1

(D.N.H. Apr. 9, 2018). As in his other habeas petitions, Robinson requested his career-offender

sentence be vacated in light of Mathis. Id. The court dismissed the § 2241 petition for lack of

jurisdiction, finding § 2255 “is not inadequate or ineffective to test the legality of Robinson’s

detention.” Id., ECF No. 24 at 5 (D.N.H. Sept. 26, 2019).

       G. First Step Act of 2018 Motion

       In December 2018, Robinson moved the District of South Carolina for a reduction in

sentence under the First Step Act 2018. Robinson, No. 0:08-cr-401, ECF No. 378 (D.S.C. Jan. 2,

2019). In February 2019, the court granted the motion and issued an Amended Judgment reducing

Robinson’s sentence from 360 to 268 months: 268 months as to Counts One and Eight, and 120

months as to Count Six, to run concurrently. Id., ECF No. 384 (D.S.C. Feb. 20, 2019). The Bureau

of Prisons now estimates Robinson’s release date is October 17, 2024.

       H. Second 28 U.S.C. § 2255 Motion

       In October 2019, Robinson filed a second motion to vacate his sentence under 28 U.S.C.

§ 2255 in the District of South Carolina, once again arguing he is “actually innocent” of being a

career offender, this time based on United States v. Havis, 927 F.3d 382 (6th Cir. 2019) (en banc).

Robinson, No. 0:08-cr-401, ECF No. 405 (D.S.C. Nov. 1, 2019). The court dismissed the motion

for lack of jurisdiction. Id., ECF No. 428 (D.S.C. Mar. 31, 2020). It first concluded it had no

jurisdiction to consider the motion under the Fourth Circuit’s § 2255(e) saving clause

jurisprudence. Id. at 2-3. Applying the test set forth in United States v. Wheeler, 886 F.3d 415 (4th

Cir. 2018), it concluded there was no change in settled substantive law of the Fourth Circuit or the

Supreme Court that had been deemed to apply retroactively on collateral review, and Robinson



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had been sentenced under the advisory guidelines, so his sentence did not present an error so grave

as to be considered a fundamental defect. Id. at 2-3. It then construed the pending motion as a

successive § 2255 motion and dismissed it for failure to secure the Fourth Circuit’s permission to

file it. Id. at 4.

          I. Most Recent Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

          In June 2021, Robinson filed the § 2241 petition now pending before this Court. Dkt. No.

1. For the seventh time since his sentence was imposed, he argues he was improperly sentenced as

a career offender. Dkt. No. 1-1 at 9. He also argues his statutory sentence enhancement was

improper. Id. at 24. As set forth below, his petition should be denied.

II.       NEITHER OF ROBINSON’S CLAIMS CAN PASS THROUGH THE SAVING
          CLAUSE, AND HIS § 2241 PETITION SHOULD BE DISMISSED FOR LACK OF
          JURISDICTION.

          Federal prisoners ordinarily may only attack the validity of their convictions or sentences

by bringing a claim in the court of conviction under 28 U.S.C. § 2255. Harrington v. Ormond, 900

F.3d 246, 249 (6th Cir. 2018) (citing United States v. Peterman, 249 F.3d 458, 461 (6th Cir. 2001));

Capaldi v. Pontesso, 135 F.3d 1122, 1124 (6th Cir. 1998). But there is a limited exception found

in § 2255(e), commonly referred to as the “saving clause,” that allows prisoners to file habeas

corpus petitions under 28 U.S.C. § 2241 in certain circumstances. See, e.g., Harrington, 900 F.3d

at 249.

                     An application for a writ of habeas corpus in behalf of a prisoner
                     who is authorized to apply for relief by motion pursuant to this
                     section, shall not be entertained if it appears that the applicant has
                     failed to apply for relief, by motion, to the court which sentenced
                     him, or that such court has denied him relief, unless it also appears
                     that the remedy by motion is inadequate or ineffective to test the
                     legality of his detention.

Section 2255(e) (emphasis added).


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        “[T]he circumstances in which § 2255 is inadequate and ineffective are narrow” because

“to construe § 2241 relief much more liberally than § 2255 relief would defeat the purpose of the

restrictions Congress placed on the filing of successive petitions for collateral relief.” Peterman,

249 F.3d at 461 (citing Antiterrorism and Effective Death Penalty Act of 1996, Pub. L. No. 104-

132, 110 Stat. 1214); see also Hueso v. Barnhart, 948 F.3d 324, 326 (6th Cir. 2020), cert. denied,

141 S. Ct. 872 (2020); Potter v. United States, 887 F.3d 785, 787 (6th Cir. 2018). “The remedy

afforded under § 2241 is not an additional, alternative or supplemental remedy to that prescribed

under § 2255.” Charles v. Chandler, 180 F.3d 753, 758 (6th Cir. 1999). A § 2255 motion is not

“inadequate or ineffective” to test a prisoner’s remedy simply because the prisoner’s time to file a

§ 2255 motion has passed, he failed to file a § 2255 motion, or he filed a § 2255 motion but was

denied relief. Id. at 756. Section 2255(e) “asks only whether § 2255’s motion is sufficient to assert

a claim on the merits; it does not guarantee ‘success’ on the merits.” Hueso, 948 F.3d at 333.

        The saving clause “limits district courts’ subject-matter jurisdiction” as to § 2241 petitions.

Taylor v. Owens, 990 F.3d 493, 499 (6th Cir. 2021). “A district court has no jurisdiction over an

application for habeas under section 2241 if the petitioner could seek relief under section 2255,

and either has not done so or has done so unsuccessfully. The only escape route is the saving

clause.” Id. The burden is on the prisoner to establish the saving clause applies. Id. (citing Charles,

180 F.3d at 756); Hill v. Masters, 836 F.3d 591, 594 (6th Cir. 2016).

        For some time, the Sixth Circuit limited § 2255(e)’s exception to “actual innocence claims”

and did not recognize the ability to challenge a sentence under the saving clause.5 See, e.g., Hayes



5
  It is the Government’s position that allowing § 2241 petitions based on a claim of statutory error
“would be insufficiently faithful to the statute’s text and to Congress’s evident purpose in limiting
the circumstances in which a criminal defendant may file a second or successive petition for
collateral review.” Petition for Writ of Certiorari, United States v. Wheeler, 2018 WL 4846931, at
*13 (U.S. Oct. 3, 2019) (No. 18-420), cert. denied, 139 S. Ct. 1318 (2019); see also Wright v.
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v. Holland, 473 F. App’x 501, 502 (6th Cir. 2012) (“The savings clause of section 2255(e) does

not apply to sentencing claims.” (citing Peterman, 249 F.3d at 461-62)). The Sixth Circuit created

an exception in Hill, 836 F.3d at 599-600, and has subsequently further explained this exception

in the published decisions of Wright, Hueso, and McCormick v. Butler, 977 F.3d 521 (6th Cir.

2020).

         Hill applied the saving clause test agreed to by the parties: a prisoner can challenge

a misapplied sentence using § 2241 if he shows “(1) a case of statutory interpretation, (2) that is

retroactive and could not have been invoked in the initial § 2255 motion, and (3) that the

misapplied sentence presents an error sufficiently grave to be deemed a miscarriage of justice or a

fundamental defect.” 836 F.3d at 595 (citing Brown v. Caraway, 719 F.3d 583, 586 (7th Cir.

2013)). But in authorizing the petition in Hill, the Sixth Circuit “reiterate[d] that . . . [its] decision

addresse[d] only a narrow subset of § 2241 petitions,” specifically those that involve:

                (1) prisoners who were sentenced under the mandatory guidelines
                regime pre-United States v. Booker, 543 U.S. 220 (2005), (2) who
                are foreclosed from filing a successive petition under § 2255, and
                (3) when a subsequent, retroactive change in statutory interpretation
                by the Supreme Court reveals that a previous conviction is not a
                predicate offense for a career-offender enhancement.

Id. at 599-600; but see McCormick, 977 F.3d at 528 (holding whether guidelines are advisory or

mandatory is irrelevant where prisoner was sentenced above statutory maximum).

         In Wright, the Sixth Circuit clarified that, in addition to Hill’s limitations, “a federal

prisoner cannot bring a claim of actual innocence in a § 2241 petition through the saving clause

without showing that he had no prior reasonable opportunity to bring his argument for relief.” 939

F.3d at 703-05; see also Hueso, 948 F.3d at 329 (“Hill still requires prisoners to show that their


Spaulding, 939 F.3d 695, 699 (6th Cir. 2019) (recognizing it is “[d]oubtful” Congress intended
saving clause to allow procedurally barred § 2255 motions).
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first § 2255 motion did not give them a ‘reasonable opportunity’ to advocate for the interpretation

that the Supreme Court later accepted.” (citing Wright, 939 F.3d at 705)).

       In Hueso, the Sixth Circuit confirmed that only a Supreme Court case, not a circuit

decision, can meet Hill’s requirements. 948 F.3d at 326; see also id. at 333 (“In addition to

whatever else our reasonable-opportunity standard demands, it requires a Supreme Court decision

that adopts a new interpretation of a statute after the completion of the initial § 2255

proceedings.”).

       In McCormick, the Sixth Circuit allowed a prisoner to challenge his sentence enhancement

where his sentence was above the otherwise applicable statutory maximum (regardless of whether

the guidelines were mandatory or advisory) and a Supreme Court case demonstrated his prior

conviction no longer qualified to enhance his sentence. 977 F.3d at 528-29.

       Robinson’s challenge to his career-offender designation should be dismissed for at least

three reasons: (1) it is an abuse of the writ, (2) he was sentenced under the advisory guidelines and

therefore cannot show his sentence is fundamentally defective, and (3) there is no retroactive

Supreme Court decision that renders his career-offender designation invalid. Robinson’s challenge

to his § 851 enhancement fails because neither the Fourth Circuit’s decision in Simmons nor the

provision of the First Step Act of 2018 narrowing the scope of § 851 enhancements is a retroactive

Supreme Court decision. Neither of Robinson’s claims can pass through the saving clause, and his

petition should be dismissed for lack of jurisdiction.

   A. Robinson’s challenge to his career-offender designation should be dismissed because
      it is an abuse of the writ and the Court lacks jurisdiction to consider it under § 2241.

       Robinson argues he is factually innocent of being a career offender based on the Supreme

Court’s decisions in Descamps v. United States, 570 U.S. 254 (2013), and Mathis v. United States,

136 S.Ct. 2243 (2016), and the Fourth Circuit’s decision in United States v. Simmons, 649 F.3d

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237 (4th Cir. 2011) (en banc). Dkt. No. 1-1 at 9. Robinson’s PSR designated him a career offender

based on two predicate convictions: a 2000 conviction for possession with intent to distribute crack

cocaine in the proximity of a park, in violation of S.C. Code § 44-53-445; and a 2001 conviction

for possession with intent to distribute crack cocaine, in violation of S.C. Code § 44-53-375(B),

and for possession with intent to distribute crack cocaine in the proximity of a school, in violation

of S.C. Code § 44-53-445. Construing his pro se pleading liberally, see Martin v. Overton, 391

F.3d 710, 712 (6th Cir. 2004), he appears to argue none of these convictions serve as career-

offender enhancements in light of Descamps, Mathis, and Simmons. Robinson’s claim is an abuse

of the writ, and the Court lacks jurisdiction to consider it under § 2241.

       1. Robinson’s claim has already been denied by at least two courts, and it should be
          dismissed as an abuse of the writ.

       Robinson has argued he is not a career offender at least six times in at least four other

district courts, and two district courts have already explicitly concluded his claim cannot pass

through § 2255(e)’s saving clause. This Court should exercise its discretion to decline to review

the claim as an abuse of the writ.

       Under 28 U.S.C. § 2244,

       No circuit or district judge shall be required to entertain an application for a writ of
       habeas corpus to inquire into the detention of a person pursuant to a judgment or a
       court of the United States if it appears that the legality of such detention has been
       determined by a judge or court of the United States on a prior application for a writ
       of habeas corpus, except as provided in section 2255.

28 U.S.C. § 2244(a). “Although habeas corpus petitions filed pursuant to § 2241 are not subject to

the strict bars on second and successive petitions imposed on 28 U.S.C. § 2255 (2000) habeas

petitions, courts may decline to address claims brought repeatedly.” Dietz v. United States Parole

Comm’n, 260 F. App’x 763, 765 (6th Cir. 2008); see also Rich v. Tamez, 489 F. App’x 754, 754

(5th Cir. 2012) (per curiam) (“A § 2241 petition is considered to be abusive if it raises ‘the same

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legal issue’ addressed and resolved in a prior filing.”); Smith v. Gomez, No. 6:21-cv-20-KKC, 2021

WL 2896083, at *2 (E.D. Ky. June 15, 2021) (“Further, this Court need not consider anew Smith’s

arguments that his Connecticut . . . convictions no longer qualify as crimes of violence. Smith

already presented those arguments to the Western District of Virginia, just to no avail.”).

Robinson’s claim fits the bill.

       In September 2019, the District of New Hampshire held Mathis did not allow Robinson’s

challenge to his career-offender status to pass through the saving clause and proceed under § 2241.

Robinson, No. 1:18-cv-287, ECF No. 24 (D.N.H. Sept. 26, 2019). It held his claim “falls squarely

within § 2255’s scope.” Id. at 4.

       Undeterred, Robinson brought the same claim in the District of South Carolina. Applying

the Fourth Circuit’s saving clause test, that court held in March 2020 that Robinson’s challenge to

his career-offender status, this time based on United States v. Havis, 927 F.3d 382 (6th Cir. 2019)

(en banc), could not proceed under § 2241. Robinson, No. 0:08-cr-401, ECF No. 425 at 2-3. It

explained Robinson had failed to identify a change in the settled substantive law of the Fourth

Circuit or the Supreme Court that applied retroactively on collateral review, and that because

Robinson was sentenced under the advisory guidelines, he could not show his sentence was so

erroneous as to be fundamentally defective. Id. at 3.

       Robinson should not get another opportunity to pass through the saving clause simply

because the Bureau of Prisons has transferred him from the Fourth Circuit to the First to the Sixth.

His career-offender claim should be dismissed as an abuse of the writ.

       Moreover, in light of these prior actions, Robinson cannot demonstrate “that he had no

prior reasonable opportunity to bring his argument for relief” under Wright, 939 F.3d at 703-05,

further barring his claim.



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       2. The Court lacks jurisdiction to consider Robinson’s challenge to his career-
          offender status because he was sentenced under the advisory guidelines.

       Robinson cannot challenge his career-offender designation under § 2241 because he was

sentenced in 2009, “long after the Supreme Court’s January 2005 Booker decision made the

guidelines advisory rather than mandatory.” Loza-Gracia v. Streeval, No. 18-5923, 2019 WL

4199908, at *2 (6th Cir. Mar. 12, 2019). In Hill, the Sixth Circuit applied the saving clause test

agreed to by the parties, which required that the challenged sentence present “an error sufficiently

grave to be deemed a miscarriage of justice or a fundamental defect.” 836 F.3d at 595. The court

reiterated that only § 2241 petitions brought by “prisoners who were sentenced under the

mandatory guidelines regime” before Booker could pass through the saving clause. Id. at 599-600.

In McCormick, the Sixth Circuit refined the exception and held it was irrelevant whether the

guidelines were mandatory or advisory if the prisoner was challenging a sentence in excess of the

statutory maximum. 977 F.3d at 528. Robinson’s sentence was imposed under the advisory

guidelines and does not exceed the statutory maximum. See Exhibit A (PSR) at 25 (noting

maximum term of imprisonment on Count One is Life). Even if Robinson could establish his

career-offender designation is now erroneous – and as set forth below, he cannot – he would be

unable to show his career-offender designation resulted in a fundamentally defective sentence. See

Bullard v. United States, 937 F.3d 654, 659 (6th Cir. 2019) (holding district court’s discretion to

vary or depart from guidelines “confirms the absence of any ‘miscarriage of justice’ in Guidelines

calculations: a district court can lawfully impose the same sentence with or without the career

offender designation”); United States v. Foote, 784 F.3d 931, 936 (4th Cir. 2015) (“[S]entencing

a defendant pursuant to advisory-Guidelines based upon a career offender status that is later

invalidated does not meet the remarkably high bar of a fundamental defect which inherently results

in a complete miscarriage of justice.” (quoting Davis v. United States, 417 U.S. 333, 346 (1974))

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(internal alteration and quotation marks omitted)). His career-offender claim therefore cannot

proceed under § 2241, and it should be dismissed for lack of jurisdiction.

       3. The Court lacks jurisdiction to consider Robinson’s challenge to his career-
          offender status because there is no retroactive Supreme Court decision that
          renders it invalid.

       Robinson cannot challenge his career-offender designation under § 2241 because he cannot

identify a retroactive Supreme Court decision that renders it invalid. In Hill, adopting the test

proposed by the parties, the Sixth Circuit held a § 2241 petition could only pass through the saving

clause if it relied on a “subsequent, retroactive change in statutory interpretation by the Supreme

Court [that] reveals that a previous conviction is not a predicate offense for a career-offender

enhancement.” 836 F.3d at 600 (emphasis added); see also Hueso, 948 F.3d at 332 (holding § 2241

petition must be based on Supreme Court case to pass through saving clause). Robinson argues

that under Mathis and Descamps, he is “actually innocent” of the career-offender enhancement.

Dkt. No. 1-1 at 10. But “[e]ven assuming that Mathis and Descamps announced new interpretations

of statutory law, they do not provide the relief [Robinson] seeks.” See Hendrickson v. Kizziah, No.

19-5629, 2019 WL 9078289, at *2 (6th Cir. Dec. 27, 2019).

       In the wake of Mathis and Descamps, the Fourth Circuit has held the two South Carolina

statutes under which Robinson was convicted – S.C. Code §§ 44-53-375(B) and 44-53-445 – are

divisible and subject to the modified categorical approach. See United States v. Williams, 997 F.3d

519, 523 (4th Cir. 2021) (holding § 44-53-375(B) is divisible and subject to modified categorical

approach); United States v. Marshall, 747 F. App’x 139, 150 (4th Cir. 2018) (authored but

unpublished) (holding § 44-53-445 is divisible and subject to modified categorical approach). The

PSR identified Robinson’s predicate convictions as (1) possession with intent to distribute crack

cocaine in the proximity of a park and (2) possession with intent to distribute crack cocaine and



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possession with intent to distribute crack cocaine in the proximity of a school.6 Exhibit A (PSR)

at 14-15. Those offenses are still career-offender predicates today. See U.S.S.G. § 4B1.2(b) (2018

ed.) (defining “controlled substance offense” to include offense under state law, punishable by

imprisonment for term exceeding one year, that prohibits possession of controlled substance with

intent to distribute); S.C. Code § 44-53-375(B)(1) (first offense of possession with intent to

distribute cocaine base punishable by term of imprisonment of not more than 15 years); S.C. Code

§ 44-53-445(B)(2) (1995) (possession with intent to distribute crack cocaine punishable by term

of imprisonment of not less than 10 nor more than 15 years). Robinson’s career-offender predicates

are valid even after Mathis and Descamps. His claim therefore cannot proceed under § 2241, and

it should be dismissed for lack of jurisdiction.




6
  To the extent Robinson argues these convictions are not valid career-offender predicates because
the sentencing court relied on the PSR to determine his offense of conviction, see Dkt. No. 1-1 at
23-24 (arguing “the district court erred in considering Robinson’s PSR in its conclusion that
Robinson had two prior controlled substance convictions” and citing Shepard v. United States, 544
U.S. 13, 26 (2005)), this claim cannot proceed under § 2241 because it does not rely on a new,
retroactive Supreme Court decision. Shepard was decided in 2005, and Robinson was sentenced
in 2009. He could have argued at sentencing, on direct appeal, and in his initial § 2255 motion that
the PSR was not a valid Shepard document, but he failed to do so. See Wright, 939 F.3d at 703
(noting prisoner challenging conviction or sentence under § 2241 must show “binding adverse
precedent (or some greater obstacle) left him with ‘no reasonable opportunity’ to make his
argument any earlier”).

Moreover, his claim is baseless on the merits because the PSR’s description of the offenses was
based on the South Carolina sentencing sheets for each of the convictions, which are valid Shepard
documents showing he was convicted of possession of crack cocaine with intent to distribute in
the proximity of a park, possession of crack cocaine with intent to distribute (3rd offense), and
possession of crack cocaine with intent to distribute in the proximity of a school. See Williams,
997 F.3d at 523 (noting South Carolina sentencing sheet was “only relevant Shepard document in
the record” where it showed defendant pleaded to offense not charged in indictment); see also
Exhibits B, C, D (South Carolina sentencing sheets).
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    B. Robinson’s challenge to his § 851 enhancement fails because the Fourth Circuit’s
       decision in United States v. Simmons and the new statutory definition of “serious drug
       felony” are not retroactive Supreme Court decisions.

       The Court also lacks jurisdiction to consider Robinson’s challenge to his § 851

enhancement under § 2241. Robinson does not appear to argue his § 851 enhancement was invalid

when it was imposed. Nor could he. When Robinson was sentenced in May 2009, a defendant

convicted of violating 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 846 was subject to ten years to

life in prison if the violation was committed “after a prior conviction for a felony drug offense has

become final.” 21 U.S.C. §§ 841(b)(1)(B), 846 (2009). A “felony drug offense” was “an offense

that is punishable by imprisonment for more than one year under any law of the United States or

of a State or foreign country that prohibits or restricts conduct relating to narcotic drugs,

marihuana, anabolic steroids, or depressant or stimulant substances.” 21 U.S.C. § 802(44) (2009).

As explained above, Robinson’s South Carolina drug convictions unquestionably qualified.7 See

S.C. Code § 44-53-375(B)(1) (first offense of possession with intent to distribute cocaine base

punishable by term of imprisonment of not more than 15 years); S.C. Code § 44-53-445(B)(2)

(1995) (possession with intent to distribute crack cocaine punishable by term of imprisonment of

not less than 10 nor more than 15 years).

       Instead, Robinson argues his 2000 conviction under § 44-53-445 does not qualify as a

“felony drug offense” under the Fourth Circuit’s decision in Simmons because he received a

suspended sentence, not a term of imprisonment. Dkt. No. 1-1 at 24. This claim cannot pass



7
 Additionally, any challenge to the sentence as originally imposed would be unable to pass through
the saving clause because Robinson cannot show he had no reasonable opportunity to bring the
claim sooner. See Wright, 939 F.3d at 703-05 (“a federal prisoner cannot bring a claim of actual
innocence in a § 2241 petition through the saving clause without showing that he had no prior
reasonable opportunity to bring his argument for relief”). Thus, Robinson’s claim that “the district
court ‘erred in failing to conduct a colloquy required under 21 U.S.C. § 851(b),” Dkt. No. 1-1 at
11, 23, is not properly before the Court.
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through the saving clause for at least four reasons. First, Simmons was decided in August 2011,

while Robinson’s initial § 2255 motion was still pending, so he cannot prove he had “no prior

reasonable opportunity to bring his argument for relief.” See Wright, 939 F.3d at 703-05. Second,

Simmons is a circuit court—not a Supreme Court—decision, so it does not suffice to open the door

to a § 2241 petition. See Hueso, 948 F.3d at 326.8 Third, Simmons considered whether a prior

conviction qualified as a sentence-enhancing predicate “in the context of the unique statutory

regime mandated by the North Carolina Structured Sentencing Act,” 649 F.3d at 240; it did not

address the South Carolina drug statutes or hold that convictions under those statutes required the

defendant to serve a term of imprisonment for the convictions to qualify as career-offender or

§ 851 predicates. And fourth, even if Simmons somehow did apply and disqualified Robinson’s

2000 conviction, his § 851 enhancement was still valid based on his 2001 convictions for

possession with intent to distribute crack cocaine and possession with intent to distribute crack

cocaine in the proximity of a school, for which he received concurrent six-year sentences.9 Exhibit

A (PSR) at 15.

       Finally, to the extent Robinson’s petition could be liberally construed to argue his § 851

enhancement is invalid because the First Step Act changed the “felony drug offense” predicate to

“serious drug felony or serious violent felony,” which does require the defendant to have served

one year in prison, the First Step Act is not a basis for a saving clause claim. The First Step Act,

Pub. L. No. 115-391, 132 Stat. 5194, does not meet Hill’s requirement of a Supreme Court case

demonstrating a prior conviction is not a predicate offense. See Hill, 836 F.3d at 599-600.




8
  For the same reasons, Robinson cannot rely on Havis to pass through the saving clause, to the
extent he attempts to do so.
9
  For all these reasons, Simmons is also not a gateway for Robinson’s career-offender challenge to
pass through the saving clause.
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Moreover, the change from “felony drug offense” to “a serious drug felony or serious violent

felony,” Pub. L. No. 115-391, 132 Stat. at 5220-21, does not apply retroactively. See United States

v. Wiseman, 932 F.3d 411, 417 (6th Cir. 2019). Section 401(c) of the First Step Act provides that

the change “shall apply to any offense that was committed before the date of enactment of this

Act, if a sentence for the offense has not been imposed as of such date of enactment.” Pub. L. No.

115-391, 132 Stat. at 5221 (emphasis added). These changes do not apply to Robinson because he

was sentenced in 2009, well before the First Step Act’s enactment. Moreover, as explained above,

even if Robinson’s 2000 conviction did not count, his two 2001 convictions would still qualify as

“serious drug felonies” sufficient to enhance his mandatory minimum sentence under

§ 841(b)(1)(B). See 21 U.S.C. § 802(57) (2018) (defining “serious drug felony” as an offense

under 18 U.S.C. § 924(e) for which defendant served more than 12 months in prison and was

released within 15 years of commencement of instant offense). Robinson’s challenge to his § 851

enhancement cannot proceed under § 2241, and it should be dismissed for lack of jurisdiction.

III.   CONCLUSION

       Robinson’s habeas petition should be dismissed for lack of jurisdiction. His career-offender

challenge is an abuse of the writ, and it cannot proceed through the saving clause because he had

a prior opportunity to bring it, he was sentenced under the advisory guidelines, and there is no

retroactive Supreme Court decision that renders the enhancement invalid. His challenge to his

§ 851 enhancement cannot pass through the saving clause because neither the Fourth Circuit’s

decision in Simmons nor the new statutory provision narrowing the scope of § 851 enhancements

is a retroactive Supreme Court decision.




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                                                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 5, 2021, the foregoing was electronically filed with the clerk

of the court by using the CM/ECF system. A copy was sent via First Class mailing to the following

non-ECF filer:

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                                                      Assistant United States Attorney




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